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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

SELECT PORTFOLIO SERVICING,                         §
INC.,                                               §
                                                    §
      Plaintiff,                                    §
                                                    §   Civil Action No. 5:22-cv-00561
v.                                                  §
                                                    §
TERESA R. WINCKLER, ABIGAIL                         §
WINCKLER                                            §
                                                    §
     Defendants.
                          PLAINTIFF’S ORIGINAL COMPLAINT

       COMES NOW, Select Portfolio Servicing, Inc. (“SPS” or “Plaintiff”) and files this its

Original Complaint against Defendants Teresa R. Winckler and Abigail Winckler

(“Defendants”), and would respectfully show the Court as follows:

                        I. PARTIES, JURISDICTION AND VENUE

       1.      SPS is a corporation organized and existing under the laws of the state of Utah

with its principal place of business in the state of Utah. A corporation is a citizen of the state

where it has been incorporated, and any state where the corporation has its principal place of

business. See 28 U.S.C. § 1332(c)(1). Therefore, Plaintiff is a citizen of Utah for diversity

purposes.

       2.      Decedent John Ross Winckler (“Decedent”) was an obligor under the Loan

Agreement. Decedent died on March 29, 2020. Upon information and belief, no probate was

opened for his estate in the county where the subject property is located or the county where he

died. Accordingly, there is no executor or administrator to be made a party in this proceeding as

the personal representative of Decedent’s estate.




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       3.       Defendant Teresa R. Winckler is a co-mortgagor under the subject loan agreement

and the wife of Decedent, at the time of his death. She may be served with process at her

residence, 25122 Flaming Arrow, San Antonio, Texas 78258, or at such other place as she may

be found. Summons is requested.

       4.       Defendant Abigail Winckler is an heir and the adoptive daughter of Decedent and

Defendant Teresa W. Winckler. She may be served with process at her residence, 25122 Flaming

Arrow, San Antonio, Texas, 78258, or at such other place as she may be found. Summons is

requested.

       5.       This Court has jurisdiction over this dispute under 28 U.S.C. § 1332 because there

is complete diversity between Plaintiff and Defendant, and the amount in controversy exceeds

$75,000.00. Due to Defendant’s conduct, as alleged herein, Plaintiff has the right to foreclose

upon real property which secures a debt pursuant to a security instrument. In an action for

declaratory or injunctive relief, the amount in controversy for jurisdictional purposes is measured

by the “value of the right to be protected or the extent of the injury to be prevented.” Leininger v.

Leininger, 705 F.2d 727, 729 (5th Cir. 1983). If unable to foreclose on the Property, Plaintiff

stands to lose the value of the Property, plus any associated interest. Therefore, the value of the

Property determines the amount in controversy. See e.g., McDonald v. Deutsche Bank Nat. Trust

Co., 3:11-CV-2691-B, 2011 U.S. Dist. LEXIS 146040, 2011 WL 6396628 (N.D. Tex. Dec. 20,

2011) (holding that declaratory requests in foreclosure “call[] into question the right to the

property in its entirety and the amount in controversy is equal to the value of the property”).

According to the Bexar County Central Appraisal District Website, the Property involved in this

matter is valued at $255,550.00, according to the 2021 appraisal. Therefore, the amount in

controversy is in excess of $75,000.00.



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        6.      Venue is proper in this district and division, the United States District Court for

the Western District of Texas, San Antonio Division, under 28 U.S.C. § 1391(b)(2) because the

real property that is the subject of this action is situated in this district and division.

                                     II. SUMMARY OF FACTS

        7.      On or about August 30, 2004, Decedent executed that certain Adjustable-Rate

Note (the “Note”) in the original principal amount of $118,400.00, originally payable to ABN

AMRO Mortgage Group, Inc. (“ABN”) and bearing interest at the rate of 2.750% per annum. A

true and correct copy of the Note is attached hereto as Exhibit A.

        8.      Concurrently with the Note, the Decedent Defendant Teresa R. Winckler

(“Borrowers”), as husband and wife, executed that certain Deed of Trust (the “Security

Instrument” and together with the Note, the “Loan Agreement”), as grantor, granting ABN a

security interest in certain real property and improvements located in Bexar County, Texas

commonly known as 25122 Flaming Arrow, San Antonio, Texas 78258, and more particularly

described as:

        LOT 17, BLOCK 1, NEW CITY BLOCK 19222, ARROWHEAD TOWN
        HOUSE SUBDIVISION, UNIT 1, IN THE CITY OF SAN ANTONIO, BEXAR
        COUNTY, TEXAS, ACCORDING TO PLAT THEREOF RECORDED IN
        VOLUME 9511, PAGE(S) 117, DEED AND PLAT RECORDS OF BEXAR
        COUNTY, TEXAS.

(the “Property”). The Security Instrument was recorded in the Real Property Records for Bexar

County, Texas, under Document No. 20040214168. A true and correct copy of the Security

Instrument is attached hereto at Exhibit B.

        9.      The Loan Agreement was transferred from ABN to Citimortgage, Inc., as

evidenced by that certain Assignment of Deed of Trust (“First Assignment”) recorded in the Real



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Property Records of Bexar County, Texas under Document No. 20050123151. A true and correct

copy of the First Assignment is attached hereto as Exhibit C.

       10.      The Loan Agreement was subsequently transferred from Citimortgage, Inc.,

successor by merger to ABN, to Nationstar Mortgage LLC, as evidenced by that certain

Corporate Assignment Deed of Trust (“Second Assignment”) recorded in the Real Property

Records of Bexar County, Texas under Instrument No. 20170001807. A true and correct copy of

the Second Assignment is attached hereto as Exhibit D.

       11.      The Loan Agreement was subsequently transferred from Nationstar Mortgage

LLC to Plaintiff as evidenced by certain Corporate Assignment of Deed of Trust (“Third

Assignment”) is attached hereto as Exhibit E.

       12.      Plaintiff is the current legal owner and holder of the Note endorsed in blank and

the mortgagee as that term is defined in section 51.0001(4) of the Texas Property Code.

       13.      Under the terms of the Loan Agreement, the Borrowers were required to pay

when due the principal and interest on the debt evidenced by the Note, as well as any applicable

charges and fees due under the Note.

       14.      The Loan Agreement further provides that should the Borrowers fail to make

payments on the Note as they became due and payable or fail to comply with any or all the

covenants and conditions of the Security Instrument, that the lender may enforce the Security

Instrument by selling the Property according to law and in accordance with the provisions set out

in the Loan Agreement.




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        15.      On March 29, 2020, Decedent passed away. No probate was ever opened for him.

In accordance with Texas Estates Code §§ 101.001(b) and 101.051, his heirs acquired all of his

interest in the Property immediately upon his death—subject to the Loan Agreement debt owed

to Plaintiff.

        16.      Though some, if not all, of the heirs have had the use, benefit, and enjoyment of

the Property, they have failed or refused to pay make payments on the Note and have failed to

comply with any and all the covenants and conditions of the Security Instrument.

        17.      The Loan Agreement is in default as of April 1, 2020. A Demand Letter - Notice

of Default (“Notice of Default”) was served in accordance with the Loan Agreement and the

Texas Property Code on October 11, 2021. A true and correct copy of the Notice of Default is

attached hereto as Exhibit F.

        18.      The default was not cured. A Notice of Acceleration of Loan Maturity (“Notice of

Acceleration”) was served in accordance to the Loan Agreement and the Texas Property Code on

February 11, 2022. A true and correct copy of the Notice of Acceleration is attached hereto as

Exhibit G.

        19.      In accordance with Federal Rule of Civil Procedure 9(c), all conditions precedent

have been performed or have occurred for Plaintiff to enforce its security interest against the

Property. Plaintiff brings this suit for declaratory judgment and foreclosure so it may enforce its

security interest in the Property.

                    III.        CAUSE OF ACTION – STATUTORY PROBATE LIEN

        20.      The foregoing paragraphs are incorporated by reference for all purposes.




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       21.      Plaintiff seeks a declaration from this Court that Plaintiff has a statutory probate

lien against the Property under the terms of the Loan Agreement and the following statutory

authority:

                   a. TEX. ESTATES CODE §§ 101.001(b) and 101.051(b)(1),
                      which state in pertinent part:

                       “ . . . the estate of a person who dies intestate vests
                       immediately in the person's heirs at law, subject to
                       the payment of, and is still liable for: the debts of the
                       decedent, except as exempted by law. . .”

                   b. TEXAS TITLE EXAMINATION STANDARDS § 11.10,
                      which states in pertinent part:

                       “A decedent’s Property passes to his or her heirs at
                       law or devisees immediately upon death, subject in
                       each instance, except for exempt Property, to
                       payment of debts, including estate and inheritance
                       taxes;” and

                   c. TEXAS TITLE EXAMINATION STANDARDS § 11.60,
                      which states in pertinent part:

                       “A decedent’s Property passes to his or her heirs at
                       law or devisees immediately upon death, subject in
                       each instance, except for exempt Property, to
                       payment of debts, including estate and inheritance
                       taxes . . . Property of a decedent passes subject to
                       unpaid debts and taxes of the estate.”

       22.      Through Plaintiff’s statutory probate lien, reserved in Texas Estates Code

§§ 101.001 and 101.151, Plaintiff has an enforceable and superior lien against the heir’s interest

in the Property. Because of a material breach of the Loan Agreement, Plaintiff seeks to enforce

its statutory probate lien in the Property through foreclosure.

                 IV. CAUSE OF ACTION – DECLARATORY JUDGMENT

       24.      The foregoing paragraphs are incorporated by reference for all purposes.




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       25.      Plaintiff requests a declaration from this Court that it is the owner and holder of

the Note and beneficiary of the Security Instrument. Plaintiff requests a further declaration from

this Court that, as owner and holder of the Note and beneficiary of the Security Instrument,

Plaintiff is a mortgagee as that term is defined under Texas Property Code section 51.0001(4)

and is authorized to enforce the power of sale in the Security Instrument through foreclosure of

the Property.

       26.      Plaintiff has been forced to hire the undersigned attorneys to seek a declaratory

judgment as a result of the Borrowers’ and heirs’ failure to comply with the Loan Agreement.

Plaintiff is therefore entitled to and seeks judgment for its reasonable attorney’s fees in this

action, both through trial and in the event of a subsequent appeal, as provided by the Security

Instrument signed by Borrowers.

                V. CAUSE OF ACTION – NON-JUDICIAL FORECLOSURE

       27.      The foregoing paragraphs are incorporated by reference for all purposes.

       28.      Plaintiff asserts a cause of action for foreclosure against Defendants. Plaintiff has

fully performed its obligations under the Loan Agreement, however, Defendants have failed to

make the payments for the Property required under the Note.

       29.      The Security Instrument permits Plaintiff to foreclose on the Property should

there be an event of default on the Note. Accordingly, Plaintiff seeks judgment in its favor and

an order allowing non-judicial foreclosure in accordance with the Security Instrument and Texas

Property Code section 51.002, or alternatively, a judgment for judicial foreclosure.

       30.      Plaintiff has been forced to hire the undersigned attorneys to pursue this claim;

Plaintiff is therefore entitled to and seeks judgment against Defendants for its reasonable

attorney’s fees in this action, both through trial and in the event of a subsequent appeal, as



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provided by the Loan Agreement. Plaintiff seeks an award of attorney’s fees as a further

obligation on the Note and not as a money judgment against Defendants, personally.

       31.      All conditions precedent have been performed or have occurred.

                                VI. TRESSPASS TO TRY TITLE

       32.      Concurrent with Plaintiff acquiring all of Defendants’ right, title and interest in

the Property by enforcement of Plaintiff’s statutory probate lien by non-judicial foreclosure,

public auction, or foreclosure under Texas Rule of Civil Procedure 309, Plaintiff seeks a

declaration and judgment under 28 U.S. Code § 2201, that Defendants are divested of all of their

right, title and interest in the Property and that all of Defendants’ right, title, and interest in the

Property are vested in Plaintiff.

                                    VII. WRIT OF POSSESSION

       33.      If any person occupies or claims possession of the Property after transfer of all

right, title and interest in the Property by trustee’s or sheriff’s deed, Plaintiff requests a writ of

possession against Occupant in accordance with Texas Rule of Civil Procedure 310.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that upon final hearing,

that Defendants be cited to appear and answer, and the Court enter judgment granting:

       a.       a declaration from this Court that, as owner and holder of the Note and
                beneficiary of the Security Instrument, Plaintiff is a mortgagee as that term is
                defined under Texas Property Code section 51.0001(4), and is authorized to
                enforce the power of sale in the Security Instrument through foreclosure of the
                Property;

       c.       a declaration that due to a breach of the Loan Agreement, Plaintiff’s statutory
                probate lien against the Property shall be enforced by a foreclosure or public
                auction; or alternatively, a judgment for judicial foreclosure; and that through the
                foreclosure or auction the Defendants are divested and Plaintiff is vested with all
                of the right, title, and interest to the Property;



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      d.      a writ of possession against any Occupant of the Property who fails or refuses to
              leave the Property after foreclosure or auction;

      e.      attorneys’ fees and costs of suit, not as a personal judgment against the
              Defendant, but only as an additional debt secured by the Security Instrument; and

      f.      all other relief, in law and in equity, to which Plaintiff is entitled.

                                                   Respectfully submitted,

                                                   By: /s/ Mark D. Cronenwett
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